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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    VIRGINIA L. GIUFFRE,

4                     Plaintiff,

5                v.                                15 CV 7433(RWS)

6    GHISLAINE MAXWELL,

7                     Defendant.

8    ------------------------------x
                                                   New York, N.Y.
9                                                  January 19, 2017
                                                   12:00 noon
10
     Before:
11
                             HON. ROBERT W. SWEET,
12
                                                   District Judge
13
                                   APPEARANCES
14
     BOIES, SCHILLER & FLEXNER, LLP
15        Attorneys for Plaintiff
     BY: SIGRID S. McCAWLEY
16
     HADDON MORGAN and FOREMAN
17        Attorneys for Defendant
     BY: JEFFREY S. PAGLIUCA
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1              (In open court; case called)

2              THE COURT:    Please be seated.

3              I will hear from the movant.

4              MR. PAGLIUCA:    Good afternoon, your Honor.       Jeff

5    Pagliuca appearing on behalf of Ms. Maxwell, the defendant in

6    this action.

7              THE COURT:    Please to hear you.

8              MR. PAGLIUCA:    Thank you, your Honor.

9              Your Honor, I will be brief.       There is an extensive

10   amount of writing on this.      I want to just touch on a couple of

11   things.

12             MS. McCAWLEY:    Your Honor, I don't mean to interrupt,

13   but before we start there is confidential information in this

14   case that has been raised in these motions that were filed

15   under seal and we can try to argue around that.          I just wanted

16   to apprise the Court that with respect to my presentation I do

17   have some information that would trigger things that the

18   defendant has said in the case that have been marked as

19   confidential.

20             My apologies.

21             THE COURT:    I will hear you.

22             MR. PAGLIUCA:    Should I continue, your Honor?

23             THE COURT:    Go ahead.

24             MR. PAGLIUCA:    The first issue with regard to this

25   spoliation motion relates to the relevance of the documents


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1    that were destroyed.     There are two sets of documents that

2    we're talking about.

3              THE COURT:    I have read the papers.

4              MR. PAGLIUCA:    I cannot imagine more relevant

5    documents in a case like this.

6              THE COURT:    I can't imagine anything less relevant

7    than the second group of documents.        Give me a break.     Leave

8    that aside.    I haven't remembered any one of my dreams now for

9    a couple of years but okay.      Yes, I hear you.

10             MR. PAGLIUCA:    Your Honor, on that point perhaps the

11   Court doesn't fully understand what is discussed when that is

12   being called a dream journal.       In deposition testimony the

13   plaintiff talked about writing down not only dreams but factual

14   recitations related to events described in the complaint.

15             THE COURT:    Right.

16             MR. PAGLIUCA:    So there will be relevant writings

17   contained in that particular document.

18             THE COURT:    Right anything else?

19             MR. PAGLIUCA:    Yes, your Honor.     That is the first

20   issue here, the relevance of these particular documents.

21             This is a defamation case and words are important in

22   this case.

23             THE COURT:    That's true.

24             MR. PAGLIUCA:    Those words written down by a plaintiff

25   prior to filing the litigation, some 300 pages of words,


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1    becomes significant in the context of this case where my client

2    is alleged to have made a defamatory remark that is prefaced by

3    the words "Every time this story is told, it changes."              So that

4    is why this becomes important in the context of this

5    litigation.

6              The plaintiff here has been represented and has been

7    involved in litigation since 2009, your Honor.         She first was

8    involved in litigation against Mr. Epstein.         She then was

9    involved and continuously represented from 2011 forward by

10   Mr. Cassell and Mr. Edwards.      Mr. Cassell has in fact published

11   on this journal that we're talking about, apparently having

12   looked at it and apparently having represented to the media

13   that this journal was relevant to the claims that the plaintiff

14   was making.    It seems to me then that the plaintiff and her

15   lawyers are under an obligation to maintain this evidence.

16   They did not.    Thus, the motion.

17             THE COURT:    Gotcha.

18             MR. PAGLIUCA:    Thank you, your Honor.

19             MS. McCAWLEY:    Your Honor, Sigrid McCawley for the

20   plaintiff, Virginia Giuffre.      I am just going to touch on a

21   couple points and I am trying to try to avoid anything that is

22   confidential.

23             With respect to the duty to preserve, which is really

24   the first prong of the test here in a sanction motion, my

25   client had no duty to preserve in 2013 for a defamation action


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1    that the defamatory words were not spoken until January 2nd of

2    2015.   She couldn't have known at the time of this incident in

3    2013 that Ms. Maxwell was going to defame her in January of

4    2015.   Because of that problem, the defendant has tried to

5    bootstrap this to another litigation, the Crimes Victims Rights

6    Act case, which is pending in the Southern District of Florida.

7    As the Court may know that case indication involves victims of

8    Mr. Epstein, who have alleged that they were not properly

9    notified by the U.S. Government of the plea deal that was set

10   forth between the government and Epstein.         So the subject

11   matter of that case is whether or not there was proper notice

12   to those victims.

13             My client Virginia Giuffre was noticed as a victim by

14   the U.S. Government.     She sought to join that case.       The

15   government already had two plaintiffs.        She was not allowed to

16   join that case.    Her joinder motion was not until 2014.           Again,

17   this incident that is set forth in the papers was in 2013.            If

18   you look at the Pfizer case, which is 288 F.R.D. 297, it is

19   from the Southern District of New York in 2013, it sets forth a

20   nice test and shows why that just because there is other

21   potential pending litigation that does not mean that there is

22   an automatic duty to preserve.

23             In Pfizer the same two drugs were at issue, the Bextra

24   drug and the Celebrex drug, and the Court held that even those

25   drugs were at issue in the prior case, the earlier case, there


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1    was no duty to preserve because that prior case was about

2    enzymes in the drug and the later case was a securities class

3    action.    So they were two different cases with different causes

4    of action and there was no duty to preserve.

5               With respect to the other prongs of that test in

6    addition to having to prove that there was a duty to preserve

7    at the time the document was destroyed, the other prong is that

8    there must be willful and culpable destruction.          Without

9    getting into the plaintiff's testimony because the courtroom is

10   full with respect to what we set forth in our papers, I believe

11   that shows that there wasn't culpable conduct.         This was an act

12   of healing as sort forth in there.

13              Lastly, Maxwell has not met the third prong, which is

14   the defendant must show that the evidence would have been more

15   favorable to her.     She must show some kind of extrinsic

16   evidence showing that the documents would have been favorable

17   or helpful to her.

18              If the Court will allow me, I would like to provide

19   the Court just a small binder that has the information in it so

20   that I don't have to say it out loud.        It is certain pieces

21   that we have already provided that have been attached to our

22   filings but in summary form.

23              If I can approach?

24              THE COURT:   Sure.   I take it your have given it to

25   counsel.


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1              MS. McCAWLEY:    Yes.   Two for the clerks and one for

2    you.   It is a summary to what is attached to our filing.

3              So with respect to that, that sets forth the evidence

4    that we believe shows that there is absolutely no way the

5    defendant could show that this information if it existed would

6    have been helpful to her case in any way due to the repeated

7    incidents of abuse that are set forth in that information.

8              Unless the Court wants to entertain argument on the

9    dreams notebook, I will set that aside.

10             I just would like to address two more points.             One is

11   that this issue was first raised in May of this year.           So their

12   Second Circuit case law, the Mercy case, which says it is

13   untimely to wait this long for bringing a motion for sanctions.

14   We have a separate trial in this case in March and they waited

15   until nine months after they first raised the issue to bring it

16   to the Court's attention with this motion.         We believe that is

17   improper.

18             Lastly, with respect to the e-mail where they

19   referenced Mr. Cassell, who has been a lawyer for Virginia

20   Giuffre in this case, that e-mail was clipped into their brief

21   with ellipses.    The ellipses has the key missing information

22   that shows that Mr. Cassell stated that he did not have this

23   piece of information and has never had it.         So if you look at

24   the actual document itself, which is attached as an exhibit,

25   you will see if you read the e-mail in its entirety, it hasn't


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1    been properly represented in my view.        In addition what that

2    was referencing is the clips of her handwriting were used in

3    different journal pieces and not the actual journal.          It has to

4    be read in the context of the article and read it in its

5    entirety with respect to the e-mail.

6              In summary, your Honor,      we believe they have not met

7    the standard sanctionable conduct in this case and we request

8    that the Court please deny the request for sanctions.

9              THE COURT:    Anything further?

10             MR. PAGLIUCA:    Briefly, your Honor.

11             First with regard to this timeliness issue, the case

12   that they cite has nothing to do with this issue that is before

13   the Court.

14             Just in terms of the discovery process, we have been

15   chasing documents since the inception of this case and we've

16   been met with resistance at every turn.        The plaintiff having

17   brought this litigation had the obligation to produce the

18   information that we've been requesting and we've been met with:

19   Well, it's in a box somewhere.       I don't know where it is.      I

20   moved.   So this is the culmination of those efforts.         It is

21   incumbent on the plaintiff having brought this litigation to

22   produce relevant documents upon request, number one, and to

23   preserve relevant documents during both the pendency of this

24   case and the cases that came before.

25             The plaintiff's lawyers know about these things.          Just


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1    by way of a little bit of background, Mr. Cassell and

2    Mr. Edwards are former prosecutors.        Mr. Edwards is a personal

3    injury lawyer.    Mr. Edwards knows what relevant evidence is and

4    knows that he has an obligation to talk to his client about

5    obtaining those kinds of things that are ultimately going to be

6    requested and produced in the litigation.         That didn't happen

7    here.   It didn't happen because the evidence was destroyed.

8              We are then in a position of having to take the word

9    of the plaintiff that, Oh, gee, it wouldn't have helped you.

10   The inference is it would have helped us and it was destroyed

11   because it would have helped us.       There was an intentional

12   destruction of this evidence.       We have met all of the prongs

13   and the Court should enter sanctions for the destruction of

14   this evidence.

15             Thank you.

16             THE COURT:    I have endorsed the motion.       Spoliation

17   has not been established at the time of plaintiff's acts and

18   the motion is denied.

19             Thank you.

20             MS. McCAWLEY:    Thank you, your Honor.

21             There is one last scheduling item we agreed could be

22   raised as we have a moment with you.        It shouldn't take more

23   than 30 seconds.    That is our scheduling order in this case,

24   which is Docket Entry 455, we set forth dates when certain

25   items are due and the Court has set two hearings.          We're


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1    getting ready for trial obviously and the Court has set a

2    hearing on February 2nd on certain motions in limines, the

3    challenges to the experts, and then the motion for summary

4    judgment on the 9th.     They wouldn't be fully briefed according

5    to our scheduling order at those times.         The parties are

6    requesting if the Court would consider having those hearings on

7    the following Thursday, February 16th so that it will be fully

8    briefed.

9               THE COURT:   Sure.

10              MR. PAGLIUCA:    Your Honor, would you like us to submit

11   something in writing on that?

12              THE COURT:   It's up to.

13              MS. McCAWLEY:    Thank you, your Honor.

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